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 3 SACRAMENTO, CALIFORNIA 95825
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 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     LUCIO HERNANDEZ
 6
 7                IN THE UNITED STATES DISTRICT COURT FOR THE
 8                      EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,      )               2:07-cr-0268-FCD
10                                  )
          PLAINTIFF,                )               STIPULATION AND ORDER
11                                  )               TO CONTINUE STATUS CONFERENCE
          v.                        )               TO MARCH 3, 2008
12                                  )
     LUCIO HERNANDEZ ,et al.,       )
13                                  )
                                    )
14        DEFENDANTS.               )
     _______________________________)
15
16         Plaintiff United States of America, by its counsel, Assistant United States
17   Attorney, Mr. Heiko Coppola and the defendants: Eliseo Gomez represented by his
18   attorney Mr. Matthew C. Bockmon; Jacinto Robles, represented by his attorney Mr.
19   Michael Hansen; Marco Robles-Guerrero represented by his attorney Ms. Dina L.
20   Santos; and Lucio Hernandez, represented by his attorney, Mr. James R. Greiner,
21   hereby stipulate and agree that the status conference calendared for Monday, January
22   28, 2008, at 10:00 a.m., before the Honorable District Court Judge Frank C. Damrell,
23   Jr., shall be continued to Monday, March 3, 2008, at 10:00 a.m.
24         This date was cleared with the Court’s courtroom deputy clerk. Ms. Maureen
25   Price, as being available.
26         The parties stipulate and agree that time shall be excluded from the speedy trial
27   act from Monday, January 28, 2008, to and including Monday, March 3, 2008, under
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 1   Title 18 section 3161(h)(8)(B)(ii) and Local Code T-4 for attorney preparation in the
 2   case as all defense counsel are in the process of reviewing the discovery provided to
 3   the defense by the government.
 4         The background of the case to date is as follows:
 5         The government filed the criminal complaint on June 1, 2007. On that date
 6   three defendants (Eliseo Gomez, Marco Antonio Robles-Guerrero, and Lucio
 7   Hernandez) made their initial appearance. All three of these defendants were detained
 8   and remain in custody. ( See Docket Entry 1, 6, 7, 8, 9).
 9         The fourth defendant, Jacinto Robles, made his initial appearance on June 5,
10   2007, with retained counsel. This defendant was ordered temporarily detained. A
11   detention hearing was continued from June 8 to June 14, 2007. At that detention
12   hearing, the defendant Jacinto Robles was detained and remains in custody. (See
13   Docket Entry 10, 13, 14, 15, 16).
14         The indictment was returned on June 14, 2007 and a status conference was set
15   for July 23, 2007. (See Docket Entry 17, 19).
16         A status conference had been set for July 23, 2007, however, due to ongoing
17   production of discovery, the parties agreed and the Court signed an order continuing
18   the July 23, 2007 status conference to Monday, August 27, 2007. Time was excluded
19   under the Speedy Trial Act under Local Code T-4 and Title 18 U.S.C. section
20   (h)(8)(B)(iv) from July 23, 2007 to August 27, 2007. (See Docket Entry 20, 21).
21         On August 24, 2007, the Court signed the stipulation filed on August 23, 2007,
22   continuing this matter to October 1, 2007, and excluding time under the speedy trial
23   act under Title 18 section 3161(h)(8)(B)(ii) and Local Code T-4 for attorney
24   preparation in the case as all defense counsel are in the process of reviewing the
25   discovery provided to the defense by the government. (See Docket Entry 26, 27).
26         A status conference was held in open court on October 1, 2007, with a further
27   status conference set for November 26, 2007. Time was excluded under the speedy
28                                              2
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 1   trial act under local code T-4, under Title 18 section 3161(h)(8)(B)(ii) for attorney
 2   preparation in the case as all defense counsel are in the process of reviewing the
 3   discovery provided to the defense by the government. (See Docket Entry 28).
 4                A status conference was held in open court on November 26, 2007, with
 5   a further status conference set for November 26, 2007. Time was excluded under the
 6   speedy trial act under local code T-4, under Title 18 section 3161(h)(8)(B)(ii) for
 7   attorney preparation in the case as all defense counsel are in the process of reviewing
 8   the discovery provided to the defense by the government. (See Docket Entry 29).
 9         The government has continually produced discovery in this case which has been
10   and is being reviewed by defense counsel and with their respective clients. The
11   discovery the defense has received from the government to date, needs to be
12   examined, analyzed and discussed with the defendants to ensure each defendant has
13   knowledge of the case the government has produced to date. In addition, the need for
14   investigation by the defense is required and the additional time will allow that to take
15   place. The need for the extra time outweighs the interest in a speedy trial to allow
16   defense counsel adequate time for proper and reasonable preparation of the case,
17   including investigation, and the parties agree and stipulate to this fact. This also
18   entails discussion with the clients (all of whom speak Spanish, thus requiring the need
19   of an interpreter) of the discovery and the discussions with the client of the Federal
20   Criminal Justice System.
21         The parties stipulate and agree that time under the Speedy Trial Act shall
22   continue be excluded up to and including Monday, March 3, 2008, under Title 18
23   U.S.C. section 3161(h)(8)(B)(ii) and Local Code T-4.
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 1                                Respectfully submitted,
 2                                McGREGOR W. SCOTT
                                  UNITED STATES ATTORNEY
 3
                                  /s/ Heiko Coppola by telephone authorization
 4   DATED: 1-24-08               _____________________________________
                                  HEIKO COPPOLA
 5                                Assistant United States Attorney
                                  Attorneys for the Plaintiff
 6
                                  /s/ Matthew C. Bockmon by telephone authorization
 7   DATED: 1-24-08               _____________________________________
                                  MATTHEW C. BOCKMON
 8                                Attorney for defendant Eliseo Gomez
 9                                /s/ Michael Hansen by telephone authorization
     DATED: 1-24-08               ___________________________________________
10                                MICHAEL HANSEN
                                  Attorney for defendant Jacinto Robles
11
                                  /s/ Dina L. Santos by telephone authorization
12   DATED: 1-24-08               ________________________________________
                                  DINA L. SANTOS
13                                Attorney for defendant Marco Robles-Guerrero
14                                /s/ James R. Greiner
     DATED: 1-24-08               _____________________________________
15                                JAMES R. GREINER
                                  Attorney for defendant Lucio Hernandez
16
17        IT IS SO ORDERED.
18   DATED: January 25, 2008.
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21
                                    _______________________________________
22                                  FRANK C. DAMRELL, JR.
                                    UNITED STATES DISTRICT JUDGE
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